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                                                                                November 18, 2024
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

JOHN DOE and JANE DOE,                   )
                                         )
     Plaintiffs-Counterclaim Defendants, )
                                         )
v.                                       )         Case No. 3:22-cv-00049
                                         )
JOSHUA MAST, STEPHANIE MAST,             )
RICHARD MAST, and KIMBERLEY              )
MOTLEY,                                  )
                                         )
     Defendants–Counterclaim Plaintiffs. )

                                           ORDER

       Defendant and Counterclaim Plaintiff Richard Mast filed an agreed upon Stipulation and

Order of Dismissal of his counterclaims. Dkt. 515. Pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), it is hereby ORDERED that the counterclaims of Richard Mast are dismissed by

stipulation, without prejudice.

                                                   Entered: November 18, 2024


                                                   Robert S. Ballou
                                                   Robert S. Ballou
                                                   United States District Judge
